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  Composite Exhibit “A” – Character Letters
              1)    Letter from Christine Winter, M.D.
              2)    Letter from Juliana Krys
              3)    Letter from Paul C. Fatigate
              4)    Letter from Mariana Cardenas
              5)    Letter from Catherine Anne Markert
              6)    Letter from Rev. Jorge Sayago-Gonzalez
              7)    Letter from Suzy Buckley Woodward
              8)    Letter from Yasser Khan
              9)    Letter from Molly Brown
              10)   Letter from Xavier Cossard
              11)   Letter from Katrina Lulgjuraj
              12)   Letter from Rita Cohen
              13)   Letter from Amar Rajadhyaksha
              14)   Letter from Ben Sharkey
              15)   Letter from Cristina Ventura
              16)   Letter from Asha Elias




                                        3
                              MASE MEBANE & BRIGGS
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  To whom it may concern,

  I met Meghana Rajadhyaksha in August 2017 after we moved to Miami from Switzerland and
  our children started going to school in St. Stephen´s Episcopal Day School.

  Meghana was the room parent in my daughter´s class and helped us a lot with the transition to
  the new school and did everything to make us feel welcome.
  She organized a family picnic to help our children to make new friends in their school.
  I was impressed by her warm and friendly personality and her desire to connect and support
  others.

  As a room mum in our class she spent so much time and energy to organize field trips, parties,
  special events for the children etc. She supported the students, teachers and families in every
  way she could and I respect her for all the work she did for our class. She organized a
  heartwarming “Kindness-Dance” for the children that was one of my highlights of the school
  year. I admire her for the love and passion that she puts in everything she does.

  Meghana and I became close friends in the last year. We had countless conversations about
  parenthood, families, relationships, education, beliefs, our hopes for the future and so much
  more. I trust her 100% and she never disappointed me as a friend. I truly value her opinion
  when I face a diﬃcult situation and I can always count on her when I need support.

  Meghana is a wonderful mother to her children and sets an example for all parents to bring out
  the best in our children. Her children shine bright academically and socially in the school
  community. In my career as a pediatrician I have met a lot of families, but rarely a family that
  impressed me more than the Rajadhyakshas.

  Meghana and her husband Amar proofed to be very good friends in a time of need.
  When my brother had a terrible bike accident and suﬀered from severe injuries.
  They helped us to find the best medical treatment, to organize diagnostic testings, surgery and
  the communication with the hospital and health insurance.
  Their support in this diﬃcult time was priceless for us and represents the type of very good
  people they are.

  Our whole family is very grateful and we feel blessed to have friends like Meghana, Amar, Vinay
  and Saya Rajadhyaksha in our lives. And I know that there are many others that feel the same
  way.

  22nd of April 2019

  Dr. Christine Winter, MD
  FMH Swiss Pediatrician
  Health and Family Coach

  100 South Pointe Drive 2801
  Miami Beach FL 33139
  305/7441856
  Tine-winter@web.de
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  April 29, 2019




  To whom it may concern:


  I have known Meghana for close to four years. We met while working together on the auction
  committee for Wine, Women and Shoes benefiting Nicklaus Children Hospital. She was an
  integral part of procuring auction items and raising funds for the event. During my time
  working with her, she was diligent, honest and responsible. Through the fund-raising work that
  impacts so many lives in a positive way, I have seen her leadership qualities and her caring
  character towards her family and the community.


  Meghana is a loving mom to her two children and dog and is always caring, responsible and
  attentive to her family while juggling her commitments to charitable causes. She is an
  important member of our Community and has had an enormous positive impact.




  Sincerely,




  Juliana Krys
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  To The Honorable Judge Ungaro,

           My name is Paul Fatigate, and I feel led to share with you my personal experience and opinion of who I
  know Meghana Rajadhyaksha to be. Not only was she a colleague of mine, but also a friend. In 2009, Meghana
  and I worked together in the medical device industry. I had the opportunity to work with her directly and
  collaborate on a daily basis. Over time, we built a trust that ultimately led to friendship. In December of 2009 I was
  married less than one year, when I suffered a serious car accident that was caused by a seizure. I was rushed to the
  hospital and days later, diagnosed with a possible life threatening brain tumor in my left temporal lobe. I was at
  Jackson Memorial Hospital for several days going through a litany of tests and scans. Meghana and her husband
  Amar chose to stay close by my bedside and help support my family in anyway they could. It was so comforting to
  know just how much Meghana truly cared for my wife and I. I am forever grateful to Meghana and Amar for
  showing me so much love and support during that tough time. I am happy to say that after two brain surgeries, I am
  now 42 years old, married with two wonderful children and in good health. I’m blessed to have so many great
  friends that prayed for me and were there for me at a time I was not sure I’d even make it. This is just one example
  of Meghana’s character. Above all, she is a wonderful friend, amazing mother, a loving wife and cares deeply for
  the community.


  Respectfully,

  Paul C. Fatigate
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  Honorable Judge Ungaro



  Dear Judge Ungaro,

  I met Meghana Rajadhyaksha in January of 2018 when I had recently moved to Miami. Early on,
  we commiserated about the neighborhood and our love of dogs.

  I was early into my pregnancy when we met and Meghana patiently answered all my pregnancy
  questions. When I shared that I was an avid reader, she offered to lend me her pregnancy and
  motherhood books after only having known me for a couple of days. I was pleasantly surprised
  when a day or two after made the offer, she went through the trouble of dropping a bag with all
  the books in my home. It was at least a dozen books. When I offered to give them back once I
  was through with them, she simply said that I should pay it forward and share them with future
  mamas. Lending me those books and taking the trouble to drop them off was a very thoughtful
  and generous gesture from someone I had recently met. It is an example of Meghana’s generosity
  and good nature.

  Once I had my daughter, Meghana was quick to congratulate me, offer support or advice, and
  made herself available to answer my many motherhood questions. She has proven to be a friend I
  can count on and I value and appreciate her friendship.

  Best regards,


  Mariana Cardenas
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  The Honorable Judge Ungaro,

  I have know Meghana Rajadhyaksha as a personal friend for a couple of years. We met through friends at
  our children’s school St. Stephens Episcopal Day School. We quickly became friends.

  I have spent a good bit of time with Meghana and her husband and children. She is an extremely loving
  wife and mother. I can honestly say that I have never known such sweet and loving children. They are
  perfectly behaved and polite. I know there mother Meghana has dedicated herself to these children, and it
  is apparent that she is doing a great job.

  When I have gone through tough moments like the sudden death of my family dog, Meghana was the first
  friend to comfort me and to continue to reach out even much after the loss. She has a good heart. I am so
  sorry she is in this situation, and I know she is suffering. I can’t emphasize enough how loving Meghana
  has been to me personally and especially to her family. I hope and pray for a positive outcome for
  Meghana.

  Thank you for your time and consideration, Catherine Anne Markert
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                                                                                  Monday, May 23, 2019

  To the Honorable Judge Ungaro,


  My name is Jorge Sayago-Gonzalez, I am the chaplain at St. Stephen’s Episcopal Day School,
  where the Rajadhyaksha family children attend school.


  Through this letter, I would like to share my experience with the Rajadhyaksha family, more
  specifically, Mrs. Meghana.


  I have known Mrs. Meghana as a parent at our school for the past 4 years. Last year she, along
  with her husband (Dr. Amar), kindly gave a presentation to our students about their cultural and
  religious background. This presentation was very well received by our students and was a
  wonderful gift to our school community. In addition, Vinay, the oldest son, is currently a student
  council representative. He has done a phenomenal job in this position, showing dedication,
  responsibility, and a helpful disposition.


  In my experience, Meghana and Amar are committed parents who want the best for their
  children. When I think of Vinay and Saya, (the Rajadhyaksha children), I see two wonderful,
  loving, and bright students. I think it is fair to say, their attributes and behavior are a reflection of
  the values taught at home.


  Although, I am saddened to learn about these recent events, it is my hope that this experience
  will serve as an opportunity for growth.


  Sincerely,



  Rev. Jorge Sayago-Gonzalez
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  The Honorable Judge Ungaro
  Wilkie D. Ferguson, Jr. United States Courthouse
  400 North Miami Avenue
  Room 12-4
  Miami, Florida 33128

  Dear Judge Ungaro,

  I have known Meghana for four years, and we've not only traveled together as friends
  socially, but have served on various committees together in the Miami charity world,
  including the Women of Tomorrow Rosé Day fundraiser, and Nicklaus Children's Hospital's
  Wine, Women & Shoes fundraiser. She's a very caring, thoughtful individual who is a loving,
  devoted mother to her two children, as well as a loving, devoted wife to her husband.

  The first thing she asked me when her alleged crime came to light was, "How can I turn this
  into something positive, what can I do to move forward and move past this?" She was
  immediately interested in righting any wrongs and getting back on the right track.
  I understand that she has been through some emotional and physical challenges the past
  several years, including the death of her father, two difficult pregnancies and a miscarriage.
  I think that she was probably not in the best frame of mind and perhaps even dealing with a
  chemical imbalance when the alleged misguided schemes were allegedly concocted.

  I'll never forget a few years ago, when I was having horrible stomach pains during my own
  birthday party. She left the party immediately and walked to Walgreens to get me medicine!
  I told her over and over how nice that was, as it was super inconvenient for her to have to
  leave the dinner, and she really went out of her way to make me comfortable. On another
  occasion, she and her husband kindly wrote me a letter of recommendation to try to help my
  daughter be admitted to a private school I was hoping she would attend. They are both
  great people who are willing to help and make the world a better place. I think people
  deserve second chances, and hope you will consider giving her a little room to grow in this
  situation.

  I think that the embarrassment of the media was probably punishment enough, and I am
  quite sure she will never deviate from the right path again.

  Thank you for your consideration,

  Suzy Buckley Woodward
  300 South Pointe Drive
  #4004
  Miami Beach, FL 33139
  305-926-6126
  suzybuckley@gmail.com
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         I wholeheartedly support my longtime friend, Meghana Rajadhyaksha, and can confirm

  that she has been nothing short of exemplary in her capacity as a friend, wife, mother, and pillar

  of our community.

         Our relationship goes back over 20 years, and during that time, I have seen Meghana go

  out of her way to lend a hand to those in need, demonstrate uncommon compassion for those less

  fortunate, and enthusiastically support dozens of charitable causes.

         While none of us are perfect, Meghana is someone who immediately comes to mind as

  being awfully close. She has always been a hard worker, held herself to the highest standards

  personally and professionally, sought to uplift others, and make her community a better place.

         Indeed, during various low points in my own life, where I may have exercised poor

  judgment or made a mistake, Meghana has been someone whom I can lean on for advice,

  guidance, and friendship.

  Sincerely,
  Yasser



  Yasser Khan
  Executive Director
  Eastern Michigan University
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                                                                                                                               June	  7,	  2019	  

                                                                                                                                                     	  
                                                                                                                                                     	  
                                                                                                                                                     	  
      Dear	  Honorable	  Judge	  Ungaro,	  

      	  
      	        I	   am	   writing	   a	   very	   sincere	   character	   reference	   letter	   for	   Meghana	  
      Rajadhayaksha.	  I	  have	  known	  Meghana	  for	  the	  past	  four	  years.	  In	  that	  time,	  she	  has	  
      been	   an	   exemplary	   mother	   who	   devotes	   all	   of	   her	   love	   and	   time	   into	   her	   two	   young	  
      children,	   Vinay	   and	   Saya.	   This	   year,	   I	   had	   the	   privilege	   of	   teaching	   Vinay	   in	   the	  
      second	   grade.	   He	   is	   a	   joyful,	   hard-­‐working,	   and	   well-­‐adjusted	   little	   boy.	   He	   shares	  
      stories	   with	   the	   class	   about	   his	   passion	   for	   Kumon,	   baseball,	   and	   happy	   times	  
      amongst	  family.	  	  
      	  
      	            Meghana	   has	   invested	   numerous	   hours	   volunteering	   at	   school.	   In	   the	   time	  
      that	  I	  have	  known	  her,	  she	  has	  been	  in	  the	  Gala	  committee,	  a	  mentor	  for	  incoming	  
      families,	   a	   room-­‐mom	   in	   first	   grade,	   she	   spearheaded	   the	   costume	   drive	   for	   The	  
      Children’s	  Home	  Society,	  volunteered	  at	  our	  annual	  Art	  Fair,	  and	  worked	  on	  packing	  
      meals	  for	  the	  homeless.	  She	  does	  all	  of	  this	  work	  with	  a	  smile	  on	  her	  face.	  
      	  
      	        Meghana	  is	  a	  compassionate,	  caring,	  and	  supportive	  mother	  who	  has	  instilled	  
      strong	   values	   in	   her	   children.	   This	   past	   year,	   I	   have	   witnessed	   Vinay	   be	   kind,	   fair,	  
      considerate,	   and	   extremely	   well	   mannered	   to	   everyone	   around	   him.	   Please	   do	   not	  
      hesitate	  to	  contact	  me	  if	  you	  have	  any	  questions.	  	  
      	  

                                                                                                                                                     	  
                                                                                                                                    Sincerely,	  
                                                                                                                               Molly	  Brown	  

                                                                                                                         Grade	  2	  Teacher	  
                                                                                                                             305.992.8744	  

      	  
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                                                                                              June 8, 2019



   Dear Honorable Judge Ungaro,

           I met Meghana and Amar Rajadhayaksha about nine years ago when they first moved to Miami.
   They had met my father that summer while traveling and he was extremely eager to introduce us since I
   was also just settling into Miami and did not really know anyone. It was friendship love-at-first-sight and
   we’ve been close friends since.

             In many ways, I owe my newfound happiness to my friendship with Amar and Meghana. My
   wife and I were recently blessed with our soon to be four-month old baby girl. For much of my Miami
   life, I oscillated between wanting the freedom of a single man and a yearning for a family life. Watching
   Meghana diligently build the emotional and structural foundation of her family, and then ultimately her
   family itself, inspired me to make what I consider the best choice of my life. Although there are multiple
   reasons I ended up where I am, I’m certain that Meghana’s gentle encouragement and support over
   many dinners, coupled with seeing first-hand how incredibly rewarding building a family could be, are
   primary drivers of the road I’ve chosen.

           Another particularly noteworthy incident in my life involving Meghana was when I had my
   appendix removed five or so years ago. Since becoming friends, Amar has become my health advisor,
   and aside from when I stub my toe, gets a call from me anytime I have a health issue. The day of my
   appendix, I called Amar telling him I had terrible pain in my gut on the side. He instructed me to come
   over and knew right away that I needed to have my appendix removed but was stuck at home for a work
   deadline. Meghana insisted to drive me to the hospital and stay with me until my surgery. When I came
   to the next day, she was there by my side to help me. It’s just who she is.

          Meghana is a wonderful friend, mother, and wife, and remains a source of inspiration as I
   embark on building my family. Please let this letter serve as a character reference for who she truly is,
   and always has been. Please feel free to contact me if you have any further questions.



                                                                                              Sincerely,

                                                                                              Xavier Cossard

                                                                                              305-807-8033
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   Honorable Judge Ungaro,
   I have known dear Meghana Rajadhyaksha for at least 15 years. I have so many wonderful
   stories I wouldn’t know where to begin or how to make you understand how much I Love this
   woman! We have a close knit group of friends when Meghana moved to New York City we were
   so sad but very excited for where life would take her. She wasn’t scared or nervous she left
   confident and ready to take on the city. She’s always been a hard worker and professional. She
   met a whole new group of amazing people and she joined all of us together in long lasting
   relationships. She always included everyone and made sure we were all taken care of! Like the
   mom in the group! On a personal level I’m a larger girl - I don’t look like the rest of the NYC or
   Miami crew I always stood out! Meghana has always been my cheerleader! I got Gastric banding
   to lose weight and it was an exhausting time for me! She checked on me constantly - motivated
   me and kept my spirits up the whole way! This weight thing may not seem like a big deal to
   many but to me this is a huge insecurity in my life and I struggle everyday! And this woman has
   always raised me up told me I was amazing either way- kept me going and I have always felt
   supported by her and her husband. She is an amazing soul- a nurturing spirit and has always
   showed everyone respect. Everyone makes mistakes in life and no matter what I support and love
   her and pray you all will see that this is a good person- friend- daughter - wife and most
   importantly the best mother!

   Sincerely,
   Katrina Lulgjuraj
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                                                                                                 June 23, 2019



   To the Honorable Judge Ungaro,



             I am writing this letter on behalf of my wife, Meghana Rajadhyaksha. This has been the most
   difficult time of my entire life, and our life together. The situation has brought about so many conflicting
   emotions and has tested our strength as a couple and family.



           I met Meghana in 2005, when we were living in New York City. From the moment I met her, I
   knew that she was the woman who I wanted to be my wife and the mother of my children. When we
   were first dating, I saw the way that she treated her family, her friends, and anyone with whom she
   came in contact. She treated them with love, kindness and respect. I thought that if she treated
   everyone else like that, I couldn’t imagine how she would treat her husband and her children. We got
   engaged within three months of meeting each other and got married soon thereafter.



            She has always been an independent woman. When I met her, she had loving and supportive
   friends and family. She had a successful career and she was a strong woman. We left New York City in
   2009 and came to Miami. Soon after our move to Miami, she became pregnant. She had a very difficult
   pregnancy, filled with nausea and vomiting. Being new to Miami, we did not have a support system.
   Unfortunately, I was building my practice at that time, and I was not there as much as I should have
   been. After the birth of our first child, we soon became pregnant again. Meghana carried that baby for
   three months (accompanied by severe nausea and vomiting again) and then had a miscarriage. This was
   devastating for her. At the time, the only thing that would make her feel somewhat better was to get
   pregnant again. We started trying right away. When she became pregnant again, she started to cry, as
   she was so afraid of going through another pregnancy. The third pregnancy was worse than the prior
   two. She was so sick that she was not able to eat or drink. I used to give her IV fluids at home. During
   this time, her father was misdiagnosed and then diagnosed with colon cancer. With a two-year-old and a
   newborn, she drove every weekend to northern Florida to watch her father suffer until his death. She
   felt cheated. In the ensuing months and years, she became more and more withdrawn. As her husband,
   I didn’t analyze her. I didn’t notice how she was changing. Coming from a conservative Indian
   background, there was a significant stigma associated with mental health issues, so she never brought
   up her feelings or asked for help.
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           As a doctor, I am embarrassed that I didn’t see the signs of her depression. She was withdrawn.
   She had insomnia. She didn’t eat. She became anti-social. These are all signs of depression that I missed.
   As her husband, I am ashamed, as I just thought she was moody. I thought that we all have good days
   and bad days. I wish I could go back in time and give her the support that she deserved and got her the
   help that she so desperately needed. Over the past few months, she has received professional help from
   Dr. Singer. She is on medication and is motivated to heal. I have seen such a remarkable difference in
   her with just a few months of therapy and the appropriate medications. She has acknowledged her
   mistakes and I assure you that she will never make them again.



          Personally, the situation has put a significant stress on our relationship as a couple and family.
   The embarrassment and shame we feel has made it difficult to leave the house at times. But, we are
   working through this, with Dr. Singer’s help, to continue to love and support each other in this difficult
   time. My medical practice has also been significantly impacted. Since this incident, I have seen referrals
   and revenue substantially decrease. But no matter how bad I feel, it will never compare to the guilt and
   remorse that Meghana feels.



           I know my wife. If given the chance, she will continue to seek help and improve her mental well-
   being. She will continue to work to be that strong, positive woman that I fell in love with in 2005. I will
   always love her and support her. She is a loving and caring wife. More importantly, she is a devoted,
   dedicated, and amazing mother. I have two smart, considerate, and kind children. This is only because of
   the time and effort that Meghana has put into them. Meghana is the “glue” that holds this family
   together. Without her, we would fall apart.



   Thank you so much for your consideration.



   Respectfully yours,



   Amar Rajadhyaksha

   Mobile: 914-393-7221
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   June 13, 2019

   To The Honorable Judge Ungaro,

          I am writing this character letter for my dear friend, Meghana Rajadhyaksha. I have
   been friends with Meghana since 1999, while we were both attending the University of
   Michigan. We’ve always stayed in touch throughout the years. I moved to Miami in 2003 while
   she was living in New York. As I have no family in Miami, I was excited when she told me that
   she was moving to Miami back in 2009.

           Through the years we shared her growing family’s updates, milestones and struggles.
   We celebrated our happy moments and tried to help each other through the challenging ones.
   She has always wanted the best for me, as I for her. The hardest time in both of our lives was
   when our fathers were simultaneously fighting cancer and ultimately passed away within 2
   months of each other in 2015. Although Meghana was suffering, she remained present and
   involved through my entire grieving process. Losing my father was the most devastating time
   of my life (as it was for her) and I attribute a big part of my healing to her unconditional
   support. In spite of her own vulnerability, she was able to console me and maintain her own
   strength throughout the process.

          Meghana has always been hardworking and determined in all her pursuits; a devoted
   and dedicated mother to her children, a kind and loyal friend and a loving and supportive wife.
   Despite three very difficult pregnancies, she somehow still managed to balance her family’s
   needs and remain a loving friend. She has always strived to lead by example and uplift those
   around her.

            Knowing Meghana for 20 years and understanding the values she upholds, this situation
   is completely out of character. I am doing my best to support her and be there for her through
   this difficult time, as I know, if roles were reversed, she would be there for me. I hope and pray
   for her as I know fully she is not a harm to society; if anything she is an active contributor to the
   betterment of her own community.

   Thank you for your time and consideration,


   Cristina Ventura
   Mobile: 305-924-4233
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   To The Honorable Judge Ungaro:

   I’m writing in reference to the character of my friend, Meghana Rajadhyaksha.

   Meghana and I met four years ago through mutual friends, and quickly became acquainted through the
   Miami philanthropic community. Together, we have served on several philanthropic committees together
   for organizations such as the Nicklaus Children’s Hospital and Women of Tomorrow.

   Additionally, I’ve spent quality family time with Meghana and her wonderful children on a shared trip to
   Disney World.

   Throughout all of our interactions, Meghana has been gracious, civid minded, and honest. She is a
   devoted and loving mother, and has always been a good friend to me.

   Kind regards,
   Asha Elias
